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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

                      Petitioner,

                      v.                                         No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                      Respondent.




                     NOTICE OF WITHDRAWAL OF PETITIONER’S
                       MOTION TO UNSEAL ECF NOS. 45 & 47

       Petitioner respectfully submits this notice withdrawing Petitioner’s Motion to Unseal.

ECF No. 48. On February 14, 2018, Respondent filed a public, redacted version of Respondent’s

January 19, 2018 Ex Parte Declaration, ECF Nos. 45 (filed under seal), 64-1. The next day,

Petitioner filed a public version of his January 22, 2018 Response, ECF Nos. 47 (filed under

seal), 67-1. Because the filings at issue in Petitioner’s Motion to Unseal have been unsealed and

filed on the public docket, Petitioner hereby withdraws his motion.



Dated: February 15, 2018                           Respectfully submitted,

                                                   /s/ Jonathan Hafetz_____________________
Arthur B. Spitzer (D.C. Bar No. 235960)           Jonathan Hafetz (D.C. Bar No. NY0251)
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